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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60067-CR-SINGHAL/SNOW(s)

  UNITED STATES OF AMERICA

  vs.

  PAUL NICHOLAS MILLER,

               Defendant.
  _____________________________/

            UNITED STATES OF AMERICA’S SENTENCING MEMORANDUM

         The government submits this memorandum to (1) advise the Court of the basis for the

  government’s sentencing recommendation; and (2) respond to Defendant Paul Nicholas Miller’s

  Motion for Downward Variance (DE 42) and Objections and Clarifications to the Pre-Sentence

  Investigation Report (DE 43). For the reasons below, the Court should overrule Miller’s objections

  and sentence Miller to 46 months’ imprisonment, at the high end of the advisory guidelines range,

  followed by a three-year term of supervised release.

                                               FACTS

         This case began with an indictment (DE 1) charging Miller, who had previously been

  convicted of aggravated assault and multiple drug offenses in New Jersey, with unlawfully

  possessing a firearm in 2018. Despite knowing of his felony convictions, Miller traveled from New

  Jersey to Fort Lauderdale to take a firearms training class, during which he fired a handgun. Miller

  then used the certificate of completion from that class to apply for a Florida concealed weapons

  license. (Presentence Investigation Report (“PSI”) ¶ 6). Miller falsely affirmed in his application

  that he had never been convicted of a felony offense. (PSI ¶ 6). After authorities discovered this
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  lie, Miller received a letter denying his application. The letter cited and enumerated Miller’s felony

  convictions in explaining the denial. (PSI ¶¶ 6, 11).

         Before Miller’s indictment in February 2021, the Federal Bureau of Investigation (“FBI”)

  had begun monitoring Miller’s internet presence after receiving multiple civilian complaints that

  Miller had threatened them with violence online. The FBI learned that Miller regularly

  livestreamed to thousands of social media followers wearing various outfits, such as Nazi regalia

  and a bulletproof vest, while brandishing what appeared to be knives or firearms. (PSI ¶ 62).

  During the livestreams, Miller typically entered video chats with strangers whom he deemed

  undesirable before making graphic threats of violence and hurling other invective. (Transcript of

  March 10, 2021 Detention Hearing, DE 29 at 28:13 – 36:18). Miller also appeared in videos posted

  to his social media channels in which he directed similarly confrontational verbal abuse towards

  individuals in person in public places. (DE 29 at 33:19 – 34:2). And Miller encouraged his many

  thousands of social media followers to harass perceived ideological enemies online. (DE 29 at 34:3

  – 35:4). The central themes of Miller’s internet presence were his white supremacist ideology, his

  advocacy for a second American civil war, his wish for the collapse of the existing order, and his

  hope for a bloody reordering that would result in the implementation of his preferred hierarchy.

  (PSI ¶ 62; DE 29 at 31:11 - 32:4). Miller was committed enough to these precepts that he mused

  in a video posted to his social media soon after the Capitol Riot about becoming a martyr if

  arrested:

         "I don't see any reason for them to come for me for any reason. But if they do for
         some reason, as I said before, it's not going to stop anything. It's just going to kind
         of accelerate it more, and more, and more and it's going to kind of radicalize
         a lot of people if they do it. So it's all up in the air, but I'm all right.”

  (DE 29 at 35:10-17) (emphasis added).


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         In this context, on March 2, 2021, an FBI Special Weapons and Tactics (“SWAT”) team

  went to Miller’s home in Fort Lauderdale to execute the federal arrest warrant issued in connection

  with the indictment. Miller emerged from his home before retreating inside. (PSI ¶ 8). After the

  SWAT team used stun grenades to clear the home, Miller—the only person inside—reemerged

  and surrendered. Inside Miller’s home, authorities executed a federal search warrant and found an

  arsenal consistent with Miller’s advocacy: an unregistered short-barreled rifle, a handgun, a

  combat knife, a tactical vest with plated body armor inserts, 787 rounds of high-caliber rifle

  ammunition, and 61 rounds of 9 millimeter ammunition. (PSI ¶ 8-10; DE 29 at 25:3-6).

         After his arrest, Miller admitted to taking the 2018 firearms training and to seeking the

  Florida concealed weapon license despite his earlier felony convictions, which he downplayed as

  occurring many years ago in a different state. (PSI ¶ 11). He admitted that he had purchased the

  ammunition and firearms parts the FBI found in his home in 2021 at gun shows and assembled the

  firearms using YouTube tutorials. (PSI ¶ 11). He confirmed that he had become interested in

  building firearms because he thought it was an important skill to have given the impending collapse

  of American society. (PSI ¶¶ 11-12). He also admitted to his internet presence but characterized it

  as comedy that he intended to monetize rather than to act upon. (PSI ¶ 12). Nevertheless, Miller

  implied that his sympathizers would act in his defense, telling agents that when his “45,000”

  followers “hear about this, it is going to be really wild.” (DE 29 at 35:18-21). Miller also

  questioned the seriousness of his offenses and expressed disbelief at his prosecution. (PSI ¶ 14).

         In March 2021, a grand jury returned the superseding indictment, which charged Miller’s

  2021 possession of the ammunition and short-barreled rifle in his home the day he was arrested,

  in addition to his 2018 crime. (DE 13). Miller pled guilty to all three counts of the superseding

  indictment during a virtual hearing repeatedly interrupted by individuals making the same kinds

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  of racially charged statements Miller regularly made online before his arrest. (DE 35).

           The day of the change of plea hearing, video clips of the proceeding appeared—and as of

  the time of this filing, remain—on a Twitter page for @ip2always. 1 The same day, on the same

  Twitter page, a two-minute video 2 of an apparent video call Miller made from prison appeared,

  along with a link to a YouTube video featuring a longer recording. 3 The two-minute video, which

  also remains publicly accessible on Twitter as of the time of this filing, includes Miller’s prediction

  that “if everything goes well, I’ll serve around 18 months[,]” less than half the low-end of the

  advisory guidelines range. Law enforcement also preserved the video that had originally appeared

  on YouTube, which has since been removed. The YouTube video is about 11 minutes long and

  includes the two-minute portion that remains publicly accessible on the @ip2always Twitter page. 4

  The YouTube video includes Miller’s further predictions of a sentence well below the advisory

  guidelines, Miller’s instructions to the other person on the call about communicating to internet

  followers on a reconstituted social media chat, Miller’s characterization of himself as a “political

  prisoner,” and Miller’s lamentation that “my life has been ruined. You know, I was trying to do

  everything I could for us, trying to help our cause, trying to help our people, and they just destroyed

  my life man. They just destroyed everything.”

           Absent from these candid videos is any acknowledgment of the crimes to which Miller

  pled guilty or any expression of remorse or personal accountability. Miller nevertheless asks the

  Court to vindicate his prediction and impose a below-guidelines sentence. (DE 42; 43).


  1
      https://twitter.com/ip2always/status/1407470056485834756 (last accessed Aug. 23, 2021).
  2
      https://twitter.com/ip2always/status/1407333997726818309 (last accessed Aug. 23, 2021).
  3
      https://twitter.com/ip2always/status/1407373568703451137 (last accessed Aug. 23, 2021).
  4
      The government intends to play this video at sentencing.
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                                            ARGUMENT

         Applying 18 U.S.C. § 3553(a)(1), the Court should decline Miller’s invitation to ignore his

  history and characteristics and the nature and circumstances of his offenses. Further, applying 18

  U.S.C. § 3553(a)(2) and considering Miller’s ongoing minimization of his crimes, the Court should

  impose a sentence at the high end of the advisory guidelines range: 46 months’ imprisonment and

  three years’ supervised release.

      A. Section 3553(a)(1) requires the Court to consider the nature and circumstances of the
         offense and the history and characteristics of the Defendant

         Miller raises a single unfounded objection to the PSI: the “inclusion of those parts of

  paragraphs 12, 14 and paragraphs 62, 63, 64 and 65 . . . which detail the defendants alleged

  involvement in white supremacist ideologies.” (DE 43 at 1 ¶ 2). The facts in these paragraphs

  pertain to the history and characteristics of the Defendant, which the Court must consider in

  fashioning a sentence. 18 U.S.C. § 3553(a)(1). Further, these facts bear directly on the nature and

  circumstances of Miller’s offenses, which the Court also must consider. Id. As Miller himself

  acknowledges (DE 43 at 1 ¶ 2), his extreme beliefs explain his dogged pursuit of firearms and

  ammunition.

         Notably, Miller does not dispute that he was regularly calling for civil war and ideological

  violence in a manner which explains and contextualizes both the threats he claims to have received

  and his unlawful possession of firearms and ammunition. Instead, he blames both his beliefs and

  his crimes on others: “right wing media reports and personal experiences which led to his actions

  in this case concerning his possession of weapons for self-defense purposes[.]” (DE 42 at 2). 5 This


  5
    Miller claims self-defense while urging the Court to ignore the deliberately contentious and
  provocative nature of his online presence. (PSI ¶¶ 64-65). Miller also admitted in his post-Miranda
  statement that he came to South Florida months before his arrest in part because he believed Florida
  to be more permissive than his home state of New Jersey. (DE 29 at 25:23-25).
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  deflection reflects Miller’s posture since the inception of this case: minimization of his crimes in

  favor of an alternate narrative in which he is the true victim.

         This posture is particularly striking given the stark facts present here. After sustaining

  multiple felony convictions in New Jersey, Miller traveled to Florida to fire a gun, and then lied

  about his felon status to obtain a Florida concealed weapon license. That effort failed when Miller

  received a denial letter confirming his felony convictions. After receiving that letter, and in plain

  disregard for the law, Miller traveled to gun shows to buy ammunition and firearms parts and

  scoured the internet to teach himself to build firearms. He stockpiled this cache while self-

  employed as an influential internet provocateur calling for ideological violence and civil war while

  threatening strangers with extreme violence. One of the firearms he bought and assembled was a

  dangerous short-barreled rife regulated under the National Firearms Act. When federal agents

  arrived at Miller’s home, he retreated inside, where he stored his weapons, rather than surrendering

  immediately.

         After his arrest, Miller suggested to law enforcement that he could leverage his internet

  followers. Then, even as he was deciding to plead guilty, Miller did not express remorse, but

  instead tried to cast his crimes as heroic acts and himself as a martyr “trying to do everything I

  could for us, trying to help our cause, trying to help our people.” In these unique respects, this case

  deviates from other firearms prosecution, warranting a significant sentence.

     B. The section 3553(a)(2) factors counsel a high end advisory guidelines sentence

         Miller’s disregard for the seriousness of his crimes demonstrates the need for the Court to

  impose a sentence that fosters respect for the law. 18 U.S.C. § 3553(a)(2)(A). The sentence must

  also afford adequate specific deterrence to Miller and general deterrence to others who may wish

  to possess weapons unlawfully, especially when accompanied by regular public calls for civil war

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  and specific threats of extreme violence. 18 U.S.C. § 3553(a)(2)(B). Further, Miller’s

  characterization of himself as a “political prisoner” suggests an intention to resume the actions for

  which he is incarcerated after his release. The sentence must therefore also reflect the need to

  protect the public from Miller’s further crimes. 18 U.S.C. § 3553(a)(2)(C). Finally, the sentence

  must reflect the need for Miller to receive the types of mental health and substance abuse treatment

  available to him in federal custody. 18 U.S.C. § 3553(a)(2)(D).

         A sentence at the high end of the guidelines is the only sentence sufficient to achieve the

  goals of the statutory framework. The government acknowledges the difficulty associated with

  Miller’s parents’ medical conditions. But Miller committed his crimes in South Florida, where he

  chose to live away from family to build his career as an internet ideologue. His objection to the

  PSI notwithstanding, Miller has tried since his arrest to project a warped narrative to the public

  and to his online followers: that his extreme views somehow excuse his criminal conduct. In fact,

  the opposite is true: Miller’s views were a disconcerting backdrop for the crimes he committed.

                                           CONCLUSION

         For the reasons above, the Court should overrule Miller’s objections to the PSI sentence

  Miller to 46 months’ imprisonment, followed by three years’ supervised release.

                                                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 23, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                                  /s/ Kiran N. Bhat
                                                  Kiran N. Bhat
                                                  Assistant United States Attorney
